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UNITEI) S'I`ATES DISTRICT COURT
FOR THE DISTRIC'I` OF DELAWARE

 

JEFFREY HORNE, ) Case No.:
)
Plaintiff, ) COMPLAINT AND DEMAND FOR
) JURY TRIAL
v. )
) (Un}awful Debt Collection Practices)
NATIONAL ENTERPRISE ) _
)
SYSTEMS, )
)
Defendant.
QQ.MM

COMES NOW the Plaintiff, JEFFREY HORNE, by and through his attorney, KA'I`E
SHUMAKER, and for his Cornplaint against Defendant, NATIONAL ENTERPRISE

SYSTEMS, Plaintiff alleges the following:

JURISDICTION AND VENUE

l. lurisdiction of this court arises pursuant to 15 U.S.C. § l692k(d), which states

that such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original

jurisdiction of all civil actions arising under the laws of the United States.

2. Defendant conducts business in the state of Delaware, and therefore, personal
jurisdiction is established

3. Venue is proper pursuant to 28 U.S.C. § 1391(_b)(l).

4. This is an action for actual and statutory damages for Violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. §§ 1692 er seq.

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PARTIES

5. Plaintit`f` is an adult individual Who resides at 28288 Beaver Dam Branch Road in
Laurel, Delaware 19956.
6. Plaintiff is a “consurner” as defined in 15 U.S.C. § 169221(3), as he is a natural
person allegedly obligated to pay a debt.
7. At all relevant times, Dcfendant acted as a “debt collector” within the meaning ot

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt
allegedly owed by Plaintiff to Verizon Wireless, incurred on or about December 22, 2003 at an
amount alleged to be $1,255.67.
8. Defendant is a corporation of the State of Ohio with its principal place of business

at 29125 Solon Road, Solon, Ohio.
9. Defendant acted through its agents, employees, oft`icers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers

PRELIMINARY STATEMENT

lO. The Fair Debt Collection Practices Act (“FDCPA”} is a comprehensive statute

which prohibits a catalog of activities in connection with the collection of debts by third parties
Y 15 U.S.C. §§ 1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,
and provides for specific consumer rights 15 U.S.C. § 1692k. The operative provisions of the

FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful and

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misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or
unconscionable conduct, both generally and in a specific list of disapproved practices

ll. ln particular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions First, a “debt collector may not
engage in any conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.” 15 U.S.C. § l692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or means in connection
with the collection of any debt.” 15 U.S.C. § 1692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The FDCPA is designed to protect consumers from unscrupulous collectors, whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection methods, conduct which
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection with the collection of a debt.

12. ln enacting the FDCPA, the United States Congress found that “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal bankruptcies, to marital instability,
to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a. Congress
additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers 15 U.S.C. § 1692b.

13. Congress enacted the FDCPA to regulate the collection of consumer debts by debt
collectors The express purposes of the FDCPA are to “eliminate abusive debt collection

practices by debt collectors, to insure that debt collectors who refrain from using abusive debt

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collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § l692e.

FACTUAL ALLEGATIONS

14. Defendant commenced in November 2009 to make a series of numerous abusive
telephone calls to Plaintiff at the landline located in the home of Constance K. Home, Plaintifi"’s
eX-wife, in an attempt to collect the alleged debt. Plaintiff rents a room in the house owned by
Constance K. Hcrne.
15. Defendant attempted to contact Plaintiff at same landline at least two (2) times

each day, placing in excess of twenty (20) calls in November 2009_
16. Plaintiff requested that Defendant stop attempting to reach him at same landline
because of the oppressive number of phone calls and disturbance to Plaintiff and his eX-wife,
which Defendant disregarded
17. Plaintiff disputed to Defendant the amount allegedly owed on the underlying
Verizon Wireless account, since the cell phone was surrendered and the account closed in June
2005 by Plaintiff’ s attorney-in-fact, J ames F. Home, Sr.
18. Despite knowing that Plaintiff disputed the alleged debt, Defendant still threatened
Plaintiff that it would report the alleged debt to a credit reporting bureau.
19. Defendant did not provide Plaintiff with written notice within five (5) days after

its initial communication with him regarding collection of the alleged debt, advising him of his

right to dispute the debt and/or request validation

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20. On or about December, 2009, Defendant talked directly with Plaintiff’s eX-wife,
Constance K. Horne, in an effort to collect the above referenced personal obligation alleged to be
owed by Plaintiff.

21. Defendant discussed Plaintiff’s alleged debt with Plaintiff’s ex-wife, Constance
K. Horne.

22. Defendant harassed Plaintifi” s ex»wife, knowing Constance K. Home did not owe
the debt and was not listed as a debtor on any account with Defendant, thereby embarrassing and
humiliating Plaintiff.

CONSTRUCTION OF APPLICABLE LAW

23. The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay &

Durand 103 F.Sd 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer

 

need not show intentional conduct by the debt collector to be entitled to damages.” Russell v.
Eguifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage Corn.q 233
F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal status

violated FDCPA); Clomon v. lackson 988 F. 2d 1314 (2d Cir. 1993).

 

24. The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit
& Collection Services, Inc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the
Truth in Lending Act (TILA) 15 U.S.C §§ 1601 er seq., is a remedial statute, it should be

construed liberally in favor of the consumer.” Johnson v. Riddle 305 F. 3d 1107 (l()th Cir.

 

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25. The FDCPA is to be interpreted in accordance with the “least sophisticated”
consumer standard See Jeter v. Credit Bureau, lnc.. 760 F.2d 1168 (l lth Cir. 1985); Graziano v.

Harrison 950 F. 2d 107 (3d Cir. 1991)', Swanson v. Southern Oregon Credit Service, Inc., 869

 

F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protection of experts, but for the
public - that vast multitude which includes the ignorant, the unthinking, and the credulous, and
the fact that a false statement may be obviously false to those who are trained and experienced
does not change its character, nor take away its power to deceive others less experienced.” I_d.
The least sophisticated consumer standard serves a dual purpose in that it ensures protection of
all consumers, even naive and trusting, against deceptive collection practices, and protects
collectors against liability for bizarre or idiosyncratic interpretations of collection notices

Clornon 988 F. 2d at 1318.

 

COUNT I
26. Defendant’s conduct violated the FDCPA in multiple ways, including but not
limited to:

a) Engaging in communications with a third party without prior consent of the
consumer given directly to the debt collector, in violation of 15 U.S.C. §l6920(b);

b) Engaging in conduct the natural consequence of which is to harass, oppress, or
abuse, in violation of 15 U.S.C. §l692d;

c) Engaging any person in telephone conversation repeatedly or continuously with
the intent to annoy, abuse, or harass any person at the called number violation of

15 U.S.C. §l692d(5);

d) Using false, deceptive, or misleading representations or means in connection with

the collection ofa debt, in violation of 15 U.S.C. §§ l692e and l692e(10);

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27.

in the sum of Plaintiff’s actual damages, statutory damages, and attorney’s fees and costs

WHEREFORE, Plaintiff, JEFFREY HORNE, respectfully prays for a judgment as

follows:

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Misrepresenting the amount of the debt, in violation of 15 U.S.C. § 1692e(2);
Connnunicating or threatening to communicate to any person credit information
which is known or which should be known to be false, including the failure to
communicate that a debt is disputed, in violation of 15 U.S.C. § 1692e(8);

Using unfair or unconscionable means to collect or attempt to collect any debt, in
violation of15 U.S.C. § l692f;

The collection of amounts expressly not permitted by law, in violation of 15
U.S.C. § l692f(l);

F ailing to send written notice of the alleged debt, in accordance with 15 U.S.C. §

1692(g)(a); and

By acting in an otherwise deceptive, unfair and unconscionable

manner and failing to comply with the FDCPA.

As a result of the above violations of the FDCPA, Defendant is liable to Plaintifi

PRAYER FOR RELIEF

a. All actual compensatory damages suffered pursuant to
15 U.S.C. § 1692k(a)(1);
b. Statutory damages of 81,000.00 for each violation of the FDCPA pursuant

to 15 U.S.C. § l692k(a)(2)(A);

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c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to 15 U.S.C. § 16921<(a)(3); and

d. Any other relief deemed appropriate by this Honorable Court.

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DATED: March 9, 2010

JEFFREY HORNE,
By his Attorney,

/s/ Kate Shurnaker
Kate Shumaker
Kimmel & Silverman, PC

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